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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                 )
In re:                                           ) Chapter 11
                                                 )
WARRIOR CAPITAL MANAGEMENT, LLC                  ) Case No. 19-32951 (DRJ)
                                                 )
                                  Debtor.        )

   DEBTOR’S MOTION FOR ENTRY OF AN ORDER DIRECTING THAT CERTAIN
        ORDERS IN THE CHAPTER 11 CASES OF WESTWIND MANOR
             RESORT ASSOCIATION, INC., ET AL. APPLY TO THE
              ABOVE-CAPTIONED CASE AND RELATED RELIEF


         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THIS MOTION, YOU SHOULD IMMEDIATELY
         CONTACT THE APPLYING PARTY TO RESOLVE THE DISPUTE. IF
         YOU AND THE APPLYING PARTY CANNOT AGREE, YOU MUST
         FILE A RESPONSE AND SEND A COPY TO THE APPLYING PARTY.
         YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF
         THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
         STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO
         NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
         WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
         APPLICATION AND HAVE NOT REACHED AN AGREEMENT, YOU
         MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
         OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
         HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

         REPRESENTED          PARTIES       SHOULD     ACT     THROUGH        THEIR
         ATTORNEY.


         The above-captioned debtor (“Warrior Capital”), files this emergency motion (the

“Motion”) for entry of an order directing that certain orders in the chapter 11 cases jointly

administered as Westwind Manor Resort Association, Inc., et al. (collectively, the “Debtors”),

Case No. 19-50026 (the “Warrior Case”) apply in the chapter 11 case of Warrior Capital and

respectfully states as follows:




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                                  PRELIMINARY STATEMENT

         1.       Warrior Capital filed a voluntary chapter 11 petition on May 30, 2019 (the

“Warrior Capital Petition Date”). Warrior Capital is an affiliate of the Debtors and is part of the

Debtors’ business enterprise. Warrior Capital respectfully requests entry of an order directing

that all Orders (as defined below) in the Warrior Case are made applicable to Warrior Capital.

The relief granted in the Orders is the same relief that Warrior Capital would request if it filed its

own first-day motions. Warrior Capital files this Motion in order to efficiently manage the

estates of the Debtors and Warrior Capital and avoid duplicative motions and hearings.

                                  JURISDICTION AND VENUE

         2.       This Court has jurisdiction to consider this motion pursuant to 28 U.S.C. § 1334.

This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this

Court pursuant to 28 U.S.C. § 1408.

                                          BACKGROUND

A.       Procedural History

         3.       On March 4, 2019 (the “Petition Date”), certain of the Debtors—Westwind

Manor Resort Association, Inc.; Warrior ATV Golf, LLC; Warrior Acquisitions, LLC; Warrior

Golf Development, LLC; Warrior Golf Management, LLC; Warrior Golf Assets, LLC; Warrior

Golf Venture, LLC; Warrior Premium Properties, LLC; Warrior Golf, LLC; and, Warrior

Custom Golf, Inc. (the “Initial Debtors”)—each filed a petition in the Bankruptcy Court seeking

relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”).        Thereafter, on April

4, 2019, Warrior Golf Equities, LLC; Warrior Golf Capital, LLC; Warrior Golf Resources,

LLC; Warrior Golf Legends, LLC; and Warrior Golf Holdings, LLC (collectively, the “Debtors

II” and together with the Initial Debtors, the “Debtors”) each filed a petition in the Bankruptcy




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Court seeking relief under chapter 11 of the Bankruptcy Code. 1 The Debtors are operating their

businesses and managing their properties as debtors-in-possession pursuant to sections 1107(a)

and 1108 of the Bankruptcy Code. No request for the appointment of a trustee or examiner has

been made in the Debtors’ chapter 11 cases.

         4.        On March 19, 2019, the Office of the United States Trustee for the Southern

District of Texas appointed an Official Committee of Unsecured Creditors (the “Committee”) in

the Debtors’ chapter 11 cases pursuant to section 1102(a) of the Bankruptcy Code. 2

         5.        A detailed description of the Debtors’ business and the facts precipitating the

filing of the Chapter 11 Cases are set forth in the Declaration of Jeremy Rosenthal in Support of

Debtors’ Chapter 11 Petitions and First Day Relief [Docket No. 9, Case No. 19-50026-DRJ]

(the “First Day Declaration”). Those facts are incorporated herein by reference.

B.     Orders Previously Entered in the Warrior Case Prior to the Warrior Capital
Petition Date

         6.        On the Petition Date, the Initial Debtors filed a number of motions (the “First Day

Motions”) requesting relief in order to ensure a smooth transition into chapter 11. On March 6,

2019, the Court conducted a hearing on the First Day Motions and subsequently entered orders

(the “First Day Orders”) in the Warrior Case, authorizing the relief requested in the First Day

Motions. Thereafter, the Debtors filed motions requesting the retention of professionals and

various administrative relief necessary to ensure the efficient administration of the Debtors’




1
  The Court previously entered the Order Directing That Certain Orders In The Chapter 11 Cases Of Westwind Manor Resort
Association, Inc., Et Al. Apply To The Above-Captioned Cases And Related Relief [Docket No. 158], which related to the Debtors
II.

2
 For the avoidance of doubt, by virtue of the nunc pro tunc relief requested herein, including that related to the Joint
Administration Order (as such term is defined herein below), that certain Notice of Appointment of Committee of Unsecured
Creditors [Docket No. 67] will apply to the chapter 11 case of Warrior Capital with the same force and effect as those of the
Debtors.

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chapter 11 cases (collectively, the “Subsequent Orders”, and together with the First Day Orders,

the “Orders”)

         7.       More particularly, the Orders are as follows:

                  a.      Order Directing Joint Administration Of Chapter 11 Cases [Docket No.
                  23] (the “Joint Administration Order”);

                  b.      Order (I) Authorizing Consolidated Creditors Lists, (II) Authorizing The
                  Extension Of The Deadline To File Schedules And Statements Of Financial
                  Affairs, And (III) Approving The Form And Manner Of Notifying Creditors Of
                  The Commencement Of The Chapter 11 Cases And Other Information [Docket
                  No. 37];

                  c.     Interim Order (I) Authorizing The Debtors To Obtain Postpetition
                  Financing (II) Granting Security Interests And Superpriority Administrative
                  Expense Status; (III) Modifying The Automatic Stay; (IV) Authorizing The
                  Debtors To Enter Into Agreements With Warrior Golf Loan Investors, LLC; (V)
                  Scheduling A Final Hearing And (VI) Granting Related Relief [Docket No. 38];

                  d.    Interim Order Authorizing The Debtors To Honor Prepetition Obligations
                  To Customers In The Ordinary Course Of Business [Docket No. 34];

                  e.     Orders Authorizing The Debtors To (I) Pay Prepetition Wages, Salaries,
                  Other Compensation, And Reimbursable Expenses, And (II) Continue Employee
                  Benefits Programs [Docket No. 46];

                  f.      Orders Authorizing The Debtors To (I) Continue To Operate Their Cash
                  Management System, (II) Honor Certain Prepetition Obligations Related Thereto
                  And (III) Maintain Existing Business Forms [Docket No. 44];

                  g.     Order (I) Approving The Debtors’ Proposed Adequate Assurance Of
                  Payment For Future Utility Services, (II) Prohibiting Utility Companies From
                  Altering, Refusing, Or Discontinuing Services, And (III) Approving The Debtors’
                  Proposed Procedures For Resolving Additional Assurance Requests [Docket No.
                  45];

                  h.      Order Appointing Donlin, Recano & Company, Inc. As Claims and
                  Noticing Agent for the Debtors Pursuant To 28 U.S.C. § 156(C), Nunc Pro Tunc,
                  to the Petition Date [Docket No. 36];

                  i.     Interim Order Authorizing the Payment of Certain Prepetition Taxes and
                  Fees [Docket No. 35];

                  j.     Order Implementing Complex Chapter 11 Bankruptcy Case Treatment and
                  Transferring Venue [Docket No. 66];


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                  k.     Order Approving Application for Approval to the Retention and
                  Employment of Cole Schotz P.C. as Attorneys to the Debtors and Debtors in
                  Possession Effective as of the Petition Date [Docket No. 86]

                  l.     Order Authorizing the Debtors to Retain and Employ Donlin, Recano &
                  Company, Inc. as Administrative Advisor Effective as of the Petition Date [Docket
                  No. 87];

                  m.     Order Under 11 U.S.C. §§ 105(a) and 331 Establishing Procedures for
                  Interim Compensation and Reimbursement of Expenses for Professionals [Docket
                  No. 88];

                  n.     Final Order Authorizing the Payment of Certain Prepetition Taxes and
                  Fees [Docket No. 123];

                  o.    Final Order Authorizing the Debtors to Honor Prepetition Obligations to
                  Customers in the Ordinary Course of Business [Docket No. 124];

                  p.     Final Order (I) Authorizing the Debtors to Obtain Postpetition Financing
                  (II) Granting Security Interest and Superpriority Administrative Expense Status;
                  (III) Modifying the Automatic Stay (IV) Authorizing the Debtors to Enter into
                  Agreements with Serene WG Loan Investors, LLC (V) Scheduling a Final Hearing
                  and (VII) Granting related Relief [Docket No. 125];

                  q.    Confidentiality Agreement and Stipulated Protective Order [Docket No
                  126];

                  r.      Order (I) Authorizing the Debtors to (A) Employ and Retain Force Ten
                  Partners, LLC to Provide the Debtors with a Chief Restructuring Officer, Chief
                  Financial Officer and Additional Personnel Pursuant to 11 U.S.C. § 363 Effective
                  as of the Petition Date; (B) Designate Jeremy Rosenthal as Chief Restructuring
                  Officer; (C) Designate David Cottrell as Chief Financial Officer and (II)
                  Granting Related Relief [Docket No 127];

                  s.      Order (I) Authorizing the Appointment of Independent Directors Effective
                  as of the Petition Date; (II) Directing the Debtors to Maintain the Independent
                  Directors and (III) Authorizing the Payment of Director Fees [Docket No. 128]:

                  t.     Order Authorizing the Filing of Affiliated Chapter 11 Petitions [Docket
                  No. 129];

                  u.    Amended Order Directing Joint Administration of Chapter 11 Cases
                  [Docket No. 151];

                  v.     Order Approving the Debtors' Emergency Motion for Entry of an Order
                  Extending the Time Within Which the Debtors May Remove Actions [Docket No.
                  152];


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                  w.     Order Directing That Certain Orders In The Chapter 11 Cases Of
                  Westwind Manor Resort Association, Inc., Et Al. Apply To The Above-Captioned
                  Cases And Related Relief [Docket No. 158];

                  x.     Order Approving Form of Verification for the Debtors’ Schedules of
                  Assets and Liabilities and Statements of Financial Affair [Docket No. 167];

                  y.     Order Authorizing the Employment and Retention of Cozen O'Connor as
                  Attorneys for the Official Committee of Unsecured Creditors of Westwind Manor
                  Resort Association, Inc. et al, Nunc Pro Tunc to March 22, 2019 [Docket 179];
                  and

                  z.    Order Authorizing the Debtors to Enter into a Golf Course Management
                  Agreement with Green Golf Partners, L.L.C. [Docket No. 188];

                  aa.    Order Approving the Debtors’ Emergency Motion for Entry of an Order
                  Extending the Time Within Which the Debtors May Elect to Convert Certain
                  Notes [Docket No. 253]; and

                                           RELIEF REQUESTED

         8.       Warrior Capital is seeking entry of an order directing that (I) the Orders are made

applicable to Warrior Capital, (II) that any relief granted to the Debtors in the Orders shall be

applicable to Warrior Capital nunc pro tunc to the Warrior Capital Petition Date, and (III)

amending the Joint Administration Order on a limited basis to reflect the collective joint

administration of the Debtors and Warrior Capital within the caption (the “Updated Joint

Administration Caption”), as follows:

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                              )
In re:                                                        )   Chapter 11
                                                              )
WESTWIND MANOR RESORT                                         )   Case No. 19-50026 (DRJ)
ASSOCIATION, INC., et al.,1                                   )
                                                              )   Jointly Administered
                                   Debtors.
                                                              )

1 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Westwind Manor Resort Association, Inc. (7533); Warrior ATV Golf, LLC (3420); Warrior Acquisitions, LLC


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(9919); Warrior Golf Development, LLC (5741); Warrior Golf Management, LLC (7882); Warrior Golf Assets,
LLC (1639); Warrior Golf Venture, LLC (7752); Warrior Premium Properties, LLC (0220); Warrior Golf, LLC
(4207); Warrior Custom Golf, Inc. (2941); Warrior Golf Equities, LLC (9803); Warrior Golf Capital, LLC (5713);
Warrior Golf Resources, LLC (6619); Warrior Golf Legends, LLC (3099); Warrior Golf Holdings, LLC (2892) and
Warrior Capital Management, LLC (8233). The address of the Debtors’ corporate headquarters is 15 Mason, Suite
A, Irvine, California 92618.



                                         BASIS FOR RELIEF

A.       Legal Standard

         9.       Bankruptcy Code section 105(a) provides, in relevant part: “The court may issue

any order, process, or judgement that is necessary or appropriate to carry out the provisions of

this title.” 11 U.S.C. § 105(a). Under section 105(a), the Court has expansive equitable powers

to fashion, within the boundaries of the Bankruptcy Code, any order or decree that is in the

interest of preserving or protecting the value of the Debtors’ assets. U.S. v. Energy Res. Co., 495

U.S. 545, 549 (1990).

         10.      Entry of an Order directing that the First Day and Subsequent Orders be made

applicable to Warrior Capital will negate the need for duplicative notices, motions, applications,

hearings, and orders to be filed in the Warrior Case. Warrior Capital simply seeks to save

considerable time and expense for its estate, its creditors, and other parties in interest. Warrior

Capital requires the protections and authorizations that are set forth in the Orders to enter chapter

11 in an orderly manner. The relief granted in the Orders addresses many of the “first day” and

other initial and administrative matters that most debtors must handle in a chapter 11 bankruptcy

and that similarly apply to Warrior Capital. In addition, no material modifications to the orders

are required, such as increasing deposits or other amounts.

         11.      Had Warrior Capital commenced its case at the same time as the original Debtors

did, it would have been a movant with respect to all of the Orders. Warrior Capital believes that

the requested relief is appropriate to carry out the provisions of the Bankruptcy Code. Similar


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motions and procedures have been authorized in other complex chapter 11 cases, including in

this district. See e.g., In re NEC Beaumont Emergency Center, LP, Case No. 18-34031 (MI)

(Bankr. S.D. Tex. 2018) [Docket No. 4]; In re Tribune Company, et al., Case No. 08-13141

(Bankr. D. Del. 2009) [Docket No. 2333]; In re Lehman Brothers Holdings, Inc., Case No. 08-

13555 (Bankr. S.D.N.Y. 2009) [Docket No. 2929].

         12.      Warrior Capital submits that the relief requested is in the best interests of the

Debtors, Warrior Capital, its estate, creditors, and other parties in interest and should therefore be

granted.

                                               NOTICE

         13.      Warrior Capital will provide notice of this Motion to the following parties or their

respective counsel (collectively, the “Notice Parties”): (a) the Office of the United States Trustee

for the Southern District of Texas; (b) counsel to the Committee; (c) counsel for the lender under

the Debtors’ debtor-in-possession financing facility, Arent Fox LLP, Attn: Beth Brownstein,

1301       Avenue       of   the   Americas,     42nd    Fl.,   New      York,    NY     10019-6040

Beth.brownstein@arentfox.com; (d)           the lender under the Debtors’ debtor-in-possession

financing facility, Attn: Adam Phillips, Serene WG Loan Investors, LLC, 1121 40th Street Apt.

1401; Emeryville, CA 94608; (f) any statutory committee appointed in these cases; (f) all known

secured creditors; (g) the United States Attorney’s Office for the Southern District of Texas; (h)

the Internal Revenue Service; (i) the offices of the attorneys general for the states in which the

Debtors operate; (j) the Securities and Exchange Commission; and (k) any party that has

requested notice pursuant to Bankruptcy Rule 2002 in the Warrior Case.               Warrior Capital

submits that, in light of the nature of the relief requested, no other or further notice need be

given.



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         WHEREFORE, Warrior Capital respectfully requests that this Court enter an Order (I)

the Orders are made applicable to Warrior Capital, (II) that any relief granted to the Debtors in

the First and Subsequent Orders shall be applicable to Warrior Capital nunc pro tunc to the

Warrior Capital Petition Date, (III) amending the Joint Administration Order on a limited basis

to reflect the collective joint administration of the Debtors and Warrior Capital by approving the

Updated Joint Administration Caption; and (IV) for such other and further relief as the Court

may deem just and proper under the circumstances.



Dated: May 30, 2019                                     Respectfully submitted,

                                                    By: /s/ Michael D. Warner_________________
                                                        Michael D. Warner, Esq.
                                                        (TX Bar No. 00792304)
                                                        Benjamin L. Wallen, Esq.
                                                        (TX Bar No. 24102623)
                                                        COLE SCHOTZ P.C.
                                                        301 Commerce Street, Suite 1700
                                                        Ft. Worth, TX 76102
                                                        (817) 810-5250
                                                        (817) 810-5255 (fax)
                                                        mwarner@coleschotz.com
                                                        bwallen@coleschotz.com

                                                        Counsel for the Debtors and Warrior
                                                        Capital




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                         ) Chapter 11
                                                               )
WARRIOR CAPITAL MANAGEMENT, LLC                                ) Case No. 19-32951 (DRJ)
                                                               )
                                      Debtor.                  )

     ORDER DIRECTING THAT CERTAIN ORDERS IN THE CHAPTER 11 CASES OF
      WESTWIND MANOR RESORT ASSOCIATION, INC., ET AL. APPLY TO THE
               ABOVE-CAPTIONED CASE AND RELATED RELIEF

           Upon the motion (the “Motion”) 1 of the above-captioned debtor and debtor-in-possession

(“Warrior Capital”) for entry of an Order (this “Order”), making all of the Orders applicable to

Warrior Capital nunc pro tunc to the Warrior Capital Petition Date and amending the Joint

Administration Order for the limited purpose of approving the use of the Updated Joint

Administration Caption rather than the caption contained therein, as more fully set forth in the

Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334; and this Court may enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the estate of Warrior Capital, its creditors,

and other parties in interest; and this Court having found that notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this Court having reviewed the Motion; and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the

relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:
1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.


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         1.       The Motion is GRANTED.

         2.       The following orders entered in the Warrior Case are hereby made applicable to

Warrior Capital as if Warrior Capital was a debtor as defined and referred to in the following

orders entered by the Court in the Warrior Case:

                  a.      Order Directing Joint Administration Of Chapter 11 Cases [Docket No.
                  23] (the “Joint Administration Order”);

                  b.      Order (I) Authorizing Consolidated Creditors Lists, (II) Authorizing The
                  Extension Of The Deadline To File Schedules And Statements Of Financial
                  Affairs, And (III) Approving The Form And Manner Of Notifying Creditors Of
                  The Commencement Of The Chapter 11 Cases And Other Information [Docket
                  No. 37];

                  c.     Interim Order (I) Authorizing The Debtors To Obtain Postpetition
                  Financing (II) Granting Security Interests And Superpriority Administrative
                  Expense Status; (III) Modifying The Automatic Stay; (IV) Authorizing The
                  Debtors To Enter Into Agreements With Warrior Golf Loan Investors, LLC; (V)
                  Scheduling A Final Hearing And (VI) Granting Related Relief [Docket No. 38];

                  d.    Interim Order Authorizing The Debtors To Honor Prepetition Obligations
                  To Customers In The Ordinary Course Of Business [Docket No. 34];

                  e.     Orders Authorizing The Debtors To (I) Pay Prepetition Wages, Salaries,
                  Other Compensation, And Reimbursable Expenses, And (II) Continue Employee
                  Benefits Programs [Docket No. 46];

                  f.      Orders Authorizing The Debtors To (I) Continue To Operate Their Cash
                  Management System, (II) Honor Certain Prepetition Obligations Related Thereto
                  And (III) Maintain Existing Business Forms [Docket No. 44];

                  g.     Order (I) Approving The Debtors’ Proposed Adequate Assurance Of
                  Payment For Future Utility Services, (II) Prohibiting Utility Companies From
                  Altering, Refusing, Or Discontinuing Services, And (III) Approving The Debtors’
                  Proposed Procedures For Resolving Additional Assurance Requests [Docket No.
                  45];

                  h.     Order Appointing Donlin, Recano & Company, Inc. As Claims And
                  Noticing Agent For The Debtors Pursuant To 28 U.S.C. § 156(C), Nunc Pro
                  Tunc, To The Petition Date [Docket No. 36];

                  i.     Interim Order Authorizing the Payment of Certain Prepetition Taxes and
                  Fees [Docket No. 35];



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                  j.     Order Implementing Complex Chapter 11 Bankruptcy Case Treatment and
                  Transferring Venue [Docket No. 66];

                  k.     Order Approving Application for Approval to the Retention and
                  Employment of Cole Schotz P.C. as Attorneys to the Debtors and Debtors in
                  Possession Effective as of the Petition Date [Docket No. 86]

                  l.     Order Authorizing the Debtors to Retain and Employ Donlin, Recano &
                  Company, Inc. as Administrative Advisor Effective as of the Petition Date [Docket
                  No. 87];

                  m.     Order Under 11 U.S.C. §§ 105(a) and 331 Establishing Procedures for
                  Interim Compensation and Reimbursement of Expenses for Professionals [Docket
                  No. 88];

                  n.     Final Order Authorizing the Payment of Certain Prepetition Taxes and
                  Fees [Docket No. 123];

                  o.    Final Order Authorizing the Debtors to Honor Prepetition Obligations to
                  Customers in the Ordinary Course of Business [Docket No. 124];

                  p.     Final Order (I) Authorizing the Debtors to Obtain Postpetition Financing
                  (II) Granting Security Interest and Superpriority Administrative Expense Status;
                  (III) Modifying the Automatic Stay (IV) Authorizing the Debtors to Enter into
                  Agreements with Serene WG Loan Investors, LLC (V) Scheduling a Final Hearing
                  and (VII) Granting related Relief [Docket No. 125];

                  q.    Confidentiality Agreement and Stipulated Protective Order [Docket No
                  126];

                  r.      Order (I) Authorizing the Debtors to (A) Employ and Retain Force Ten
                  Partners, LLC to Provide the Debtors with a Chief Restructuring Officer, Chief
                  Financial Officer and Additional Personnel Pursuant to 11 U.S.C. § 363 Effective
                  as of the Petition Date; (B) Designate Jeremy Rosenthal as Chief Restructuring
                  Officer; (C) Designate David Cottrell as Chief Financial Officer and (II)
                  Granting Related Relief [Docket No 127];

                  s.      Order (I) Authorizing the Appointment of Independent Directors Effective
                  as of the Petition Date; (II) Directing the Debtors to Maintain the Independent
                  Directors and (III) Authorizing the Payment of Director Fees [Docket No. 128]:

                  t.     Order Authorizing the Filing of Affiliated Chapter 11 Petitions [Docket
                  No. 129];

                  u.    Amended Order Directing Joint Administration of Chapter 11 Cases
                  [Docket No. 151];



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                  v.     Order Approving the Debtors’ Emergency Motion for Entry of an Order
                  Extending the Time Within Which the Debtors May Remove Actions [Docket No.
                  152];

                  w.     Order Directing That Certain Orders In The Chapter 11 Cases Of
                  Westwind Manor Resort Association, Inc., Et Al. Apply To The Above-Captioned
                  Cases And Related Relief [Docket No. 158];

                  x.     Order Approving Form of Verification for the Debtors’ Schedules of
                  Assets and Liabilities and Statements of Financial Affair [Docket No. 167];

                  y.     Order Authorizing the Employment and Retention of Cozen O'Connor as
                  Attorneys for the Official Committee of Unsecured Creditors of Westwind Manor
                  Resort Association, Inc. et al, Nunc Pro Tunc to March 22, 2019 [Docket 179];
                  and

                  z.    Order Authorizing the Debtors to Enter into a Golf Course Management
                  Agreement with Green Golf Partners, L.L.C. [Docket No. 188];

                  aa.    Order Approving the Debtors’ Emergency Motion for Entry of an Order
                  Extending the Time Within Which the Debtors May Elect to Convert Certain
                  Notes [Docket No. 253]; and

         3.       Additionally, notwithstanding the terms of the Joint Administration Order, such

Order shall be amended for the limited purpose of updating the caption to reflect the joint

administration of the Debtors and Warrior Capital cases as follows:

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                              )
In re:                                                        )   Chapter 11
                                                              )
WESTWIND MANOR RESORT                                         )   Case No. 19-50026 (DRJ)
ASSOCIATION, INC., et al.,1                                   )
                                                              )   Jointly Administered
                                   Debtors.
                                                              )

1 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Westwind Manor Resort Association, Inc. (7533); Warrior ATV Golf, LLC (3420); Warrior Acquisitions, LLC
(9919); Warrior Golf Development, LLC (5741); Warrior Golf Management, LLC (7882); Warrior Golf Assets,
LLC (1639); Warrior Golf Venture, LLC (7752); Warrior Premium Properties, LLC (0220); Warrior Golf, LLC
(4207); Warrior Custom Golf, Inc. (2941); Warrior Golf Equities, LLC (9803); Warrior Golf Capital, LLC (5713);
Warrior Golf Resources, LLC (6619); Warrior Golf Legends, LLC (3099); Warrior Golf Holdings, LLC (2892) and



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Warrior Capital Management, LLC (8233). The address of the Debtors’ corporate headquarters is 15 Mason, Suite
A, Irvine, California 92618.
.

         4.       Any relief granted to the original Debtors in the Orders shall be applicable to

Warrior Capital nunc pro tunc to the Warrior Capital Petition Date.

         5.       The Notice of Appointment of Committee of Unsecured Creditors [Docket No. 67]

shall apply to the chapter 11 case of Warrior Capital with the same force and effect as those of

the Debtors.

         6.       Notwithstanding any Bankruptcy Rule to the contrary, this Order shall be

immediately effective and enforceable upon its entry.

         7.       No later than three (3) business days after the date of this Order, Warrior Capital

shall serve a copy of this Order on the Notice Parties.

         8.       This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of this Order.



Date:                    , 2019

                                            THE HONORABLE DAVID R. JONES
                                            CHIEF UNITED STATES BANKRUPTCY JUDGE




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